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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

STEPHANIE STOUT,                                      §
                                                      §
                  Plaintiff,                          §
v.                                                    §
                                                      §
ACCOUNT RESOLUTION SERVICES,                          §
LLC;                                                  §
CONSUMER ADJUSTMENT                                   §
COMPANY, INC.;                                        §
PARAMOUNT RECOVERY SYSTEMS,                           §                EP-23-CV-00080-DCG
L.P.;                                                 §
EXPERIAN INFORMATION                                  §
SOLUTIONS, INC.;                                      §
EQUIFAX INFORMATION                                   §
SERVICES, INC.; and                                   §
TRANS UNION LLC,                                      §
                                                      §
                  Defendants.                         §

                                 ORDER FOR DISMISSAL PAPERS

       Plaintiff Stephanie Stout reports that she and Defendant Account Resolution Services,

LLC “have reached a settlement” and “are presently drafting, finalizing, and executing the

settlement and dismissal documents.” Notice, ECF No. 20.1 She requests 60 days “to complete

the necessary settlement paperwork and file the appropriate dismissal documents with the

Court.” Id. Although the Court customarily gives litigants only 30 days to file dismissal papers

after they announce a settlement, the Court doesn’t object to giving Plaintiff and Account

Resolution Services the 60 days they request here.




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           That settlement “does not affect the other parties” to this case. Notice at 1.
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       The Court thus ORDERS Plaintiff and Defendant Account Resolution Services, LLC to

FILE DISMISSAL PAPERS by July 7, 2023. If they need more time to complete settlement

documents and prepare dismissal papers, they SHALL FILE a request for more time by that

same date.

       So ORDERED and SIGNED this 8th day of May 2023.




                                             ______________________________
                                             DAVID C. GUADERRAMA
                                             UNITED STATES DISTRICT JUDGE




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